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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, AIRLINE DIVISION, AIRLINE
PROFESSIONALS ASSOCIATION OF THE
INTERNATIONAL BROTHERHOOD OF
TEAMSTERS, LOCAL UNION NO. 1224, and
KRISTOPHER LANG,

                       Plaintiffs,
v.                                                        Case No. 1:19-cv-00281-RDM

ATLAS AIR, INC. and POLAR AIR CARGO
WORLDWIDE, INC.,

                       Defendants.


      JOINT STIPULATION OF DISMISSAL WITH PREJUDICE CONDITIONED ON
     RETENTION OF JURISDICTION TO ENFORCE THE TERMS OF THE PARTIES’
                         SETTLEMENT AGREEMENT


               WHEREAS, on February 1, 2019, Plaintiffs International Brotherhood of

Teamsters, Airline Division, Airline Professionals Association of the International

Brotherhood of Teamsters, Local Union No. 1224, and Kristopher Lang (collectively, the
Plaintiffs) filed a Verified Complaint in United States District Court for the District of
Columbia, Case 1:19-cv-00281 against Atlas Air, Inc. and Polar Air Cargo Worldwide, Inc.

(“Defendants”) alleging claims arising out of the alleged facts and circumstances surrounding the

Employment Action, including (1) Violation of Section 2, First of the RLA, 45 U.S.C. § 152,

First, (2) Violation of Section 2, Seventh of the RLA, 45 U.S.C. § 152, Seventh, and Section Six

of the RLA, 45 U.S.C. § 156 (3) Violation of Section 2, Third of the RLA, 45 U.S.C. § 152,

Third, (4) Violation of Section 2, Fourth of the RLA, 45 U.S.C. § 152, Fourth, and (5) Violation

of Public Policy – Wrongful Discharge Tort under District of Columbia Law (the “Complaint”);

and
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               WHEREAS, the Parties have entered into a settlement agreement dated March

22, 2019 (“Settlement Agreement”) providing for the dismissal of this action with prejudice

pursuant to Rule 41(a)(1)(A)(ii), conditioned, however, on an order from the Court retaining

jurisdiction solely for the purpose of enforcing the terms of the Settlement Agreement, which

terms are expressly incorporated herein by reference;


       IT IS HEREBY STIPULATED AND AGREED by and between all the Parties which

have appeared in this action, by their attorneys and pursuant to Rule 41(a)(1)(A)(ii) of the

Federal Rules of Civil Procedure, that the above-captioned action is voluntarily dismissed with

prejudice with each party to bear their own attorneys’ fees and costs, subject to and conditioned

upon entry of an order from the Court retaining jurisdiction solely for the purpose of enforcing

the terms of the Settlement Agreement.

       A proposed order is attached.

Respectfully submitted,

Dated: March 22, 2019



____/s/ Edward M. Gleason_______                 /s/ Robert A. Siegel                 ______
Edward M. Gleason                                 Robert A. Siegel
(D.C. Bar # 429325)                               (D.C. Bar #1004474)
LAW OFFICE OF EDWARD                              Rachel S. Janger
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                                                   Counsel for Defendants
